 1

 2   Max K. Archer, WSBA #54081
     Riverside Law Group, PLLC
 3
     905 W. Riverside Ave., Ste. 404
 4   Spokane, WA 99201
     mka@riverside-law.com
 5
     (509) 504-8714
 6   Attorneys for Plaintiff
 7

 8

 9                         UNITED STATES DISTRICT COURT
10
                          EASTERN DISTRICT OF WASHINGTON
11
     PREPARED FOOD PHOTOS, INC.,
12
     f/k/a ADLIFE MARKETING &                  NO.
13   COMMUNICATIONS CO., INC., a
14
     Florida for profit corporation,
                                               COMPLAINT
15                        Plaintiff,
16                                             JURY DEMAND
     v.
17

18   POOL WORLD, INC., a Washington
     for profit corporation,
19

20                        Defendant.
21

22         COMES NOW, Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing
23
     & Communications Co., Inc. (“Plaintiff”), by and through its attorneys of record,
24

25   Max K. Archer of Riverside Law Group, PLLC, and alleges, avers, and claims as
26
     follows:
27

28                                     I.   THE PARTIES

           1.    Plaintiff is a corporation organized and existing under the laws of the
     COMPLAINT • Page 1
 1   State of Florida with its principal place of business located in Broward County,
 2
     Florida.
 3

 4         2.     Defendant Pool World, Inc. (“Defendant”) is a corporation organized
 5
     and existing under the laws of the State of Washington with its principal place of
 6

 7
     business located at 13524 E Sprague Ave., Spokane, WA 99216. Defendant’s

 8   agent for service of process is Grady Early, 13524 E Sprague Ave., Spokane, WA
 9
     99216.
10

11                          II.    JURISDICTION AND VENUE
12
           3.     This Court has subject matter jurisdiction over this action pursuant to
13

14
     28 U.S.C. §§ 1331 and 1338(a).

15         4.      This Court has personal jurisdiction over Defendant because it has
16
     maintained sufficient minimum contacts with Washington such that the exercise of
17

18   personal jurisdiction over it would not offend traditional notions of fair play and
19
     substantial justice.
20

21
           5.     Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a)

22   because Defendant or its agents reside or may be found in this district. The Ninth
23
     Circuit has interpreted Section 1400(a) to mean that venue is proper in any judicial
24

25   district in which the defendant would be amenable to personal jurisdiction. Brayton
26
     Purcell LLP v. Recordon & Recordon, 606 F. 3d 1124, 1128 (9th Cir. 2010)).
27

28
     Venue is thus proper in this District because personal jurisdiction exists over

     Defendant in this District.
      COMPLAINT • Page 2
 1                                        III.   FACTS
 2
     A.    PLAINTIFF’S BUSINESS AND HISTORY.
 3

 4         6.     Plaintiff is in the business of licensing high-end, professional
 5
     photographs for the food industry.
 6

 7
           7.     Through its commercial website (www.preparedfoodphotos.com),

 8   Plaintiff offers a monthly subscription service which provides access to/license of
 9
     tens of thousands of professional images.
10

11         8.     Plaintiff charges its clients (generally, grocery stores, restaurant
12
     chains, food service companies, etc.) a minimum monthly fee of $999.00 for
13

14
     access to its library of professional photographs.

15         9.     Plaintiff does not license individual photographs or otherwise make
16
     individual photographs available for purchase. Plaintiff’s business model relies on
17

18   its recurring monthly subscription service such that Plaintiff can continue to
19
     maintain its impressive portfolio.
20

21
           10.    Plaintiff owns each of the photographs available for license on its

22   website and serves as the licensing agent with respect to licensing such
23
     photographs for limited use by Plaintiff’s customers. To that end, Plaintiff’s
24

25   standard terms include a limited, non-transferable license for use of any
26
     photograph by the customer only. Plaintiff’s license terms make clear that all
27

28
     copyright ownership remains with Plaintiff and that its customers are not permitted

     to transfer, assign, or sub-license any of Plaintiff’s photographs to another
      COMPLAINT • Page 3
 1   person/entity.
 2
     B.    THE WORK AT ISSUE IN THIS LAWSUIT.
 3

 4         11.    In 2001, Plaintiff created a photograph titled
 5
     “ProduceVegetableGrilled002” (the “Work”). A copy of the Work is exhibited
 6

 7
     below:

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22         12.    The Work was registered by Plaintiff with the Register of Copyrights
23
     on September 29, 2016 and was assigned Registration No. VA 2-019-412. A true
24

25   and correct copy of the Certification of Registration pertaining to the Work is
26
     attached hereto as Exhibit “A.”
27

28
           13.    Plaintiff is the owner of the Work and has remained the owner at all

     times material hereto.
     COMPLAINT • Page 4
 1   C.    DEFENDANT’S UNLAWFUL ACTIVITIES.
 2
           14.    Defendant is the largest pool and spa business in the Inland
 3

 4   Northwest. It has been in operation since 1976 and has expanded to four (4) store
 5
     locations with more than sixty (60) employees.
 6

 7
           15.    Defendant advertises/markets its business primarily through its

 8   website (https://poolworld.biz/), social media (e.g.,
 9
     https://www.facebook.com/PoolWorldInc/), and other forms of advertising.
10

11         16.    On a date prior to Plaintiff’s above-referenced copyright registration of
12
     the Work, Defendant published the Work on its website (at https://poolworld-
13

14
     grillworld.com/):

15

16

17

18

19

20

21

22

23

24
           17.    A true and correct copy of screenshots of Defendant’s website,
25

26
     displaying the copyrighted Work, is attached hereto as Exhibit “B.”

27         18.    Defendant is not and has never been licensed to use or display the
28
     Work. Defendant never contacted Plaintiff to seek permission to use the Work in

      COMPLAINT • Page 5
 1   connection with Defendant’s website, social media, or for any other purpose.
 2
           19.      Defendant utilized the Work for commercial use – namely, in
 3

 4   connection with the marketing of Defendant’s business.
 5
           20.      Upon information and belief, Defendant located a copy of the Work
 6

 7
     on the internet and, rather than contact Plaintiff to secure a license, simply copied

 8   the Work for its own commercial use.
 9
           21.      Through its ongoing diligent efforts to identify unauthorized use of its
10

11   photographs, Plaintiff discovered Defendant’s unauthorized use/display of the
12
     Work in June 2022. Following Plaintiff’s discovery, Plaintiff (through its agents)
13

14
     notified Defendants in writing of such unauthorized use. To date, Plaintiff has been

15   unable to negotiate a reasonable license for the past infringement of its Work.
16
           22.      All conditions precedent to this action have been performed or have
17

18   been waived.
19
                                  IV.    CAUSE OF ACTION
20

21
                            COUNT 1 – COPYRIGHT INFRINGEMENT

22         23.      Plaintiff re-alleges and incorporates paragraphs 1 through 22 as set
23
     forth above.
24

25         24.      The Work is an original work of authorship, embodying copyrightable
26
     subject matter, that is subject to the full protection of the United States copyright
27

28
     laws (17 U.S.C. § 101 et seq.).

           25.      Plaintiff owns a valid copyright in the Work, having registered the
      COMPLAINT • Page 6
 1   Work with the Register of Copyrights and owning sufficient rights, title, and
 2
     interest to such copyright to afford Plaintiff standing to bring this lawsuit and
 3

 4   assert the claim(s) herein.
 5
           26.    As a result of Plaintiff’s reproduction, distribution, and public display
 6

 7
     of the Work, Defendant had access to the Work prior to its own reproduction,

 8   distribution, and public display of the Work on Defendant’s website.
 9
           27.     Defendant reproduced, distributed, and publicly displayed the Work
10

11   without authorization from Plaintiff.
12
           28.     By its actions, Defendant directly infringed and violated Plaintiff’s
13

14
     exclusive rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing,

15   distributing, and publicly displaying the Work for its own commercial purposes
16
     and for the commercial purposes.
17

18         29.    Plaintiff has been damaged as a direct and proximate result of
19
     Defendant’s infringement.
20

21
           30.    Plaintiff is entitled to recover its actual damages resulting from

22   Defendant’s unauthorized use of the Work and, at Plaintiff’s election (pursuant to
23
     17 U.S.C. § 504(b)), Plaintiff is entitled to recover damages based on a
24

25   disgorgement of Defendant’s profits from infringement of the Work, which
26
     amounts shall be proven at trial.
27

28
           31.    Defendant’s conduct has caused, and any continued infringing

     conduct will continue to cause, irreparable injury to Plaintiff unless enjoined by the
      COMPLAINT • Page 7
 1   Court. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,
 2
     Plaintiff is entitled to a permanent injunction prohibiting infringement of Plaintiff’s
 3

 4   exclusive rights under copyright law.
 5
                                      V.     JURY DEMAND
 6

 7
           Plaintiff demands a trial by jury on all issued so triable.

 8                              VI.        PRAYER FOR RELIEF
 9
           WHEREFORE, Plaintiff demands judgment against Defendant as follows:
10

11         1.     A declaration that Defendant has infringed on Plaintiff’s copyrights in
12
     the Work;
13

14
           2.     An award of actual damages and disgorgement of profits as the Court

15   deems proper;
16
           3.     Awarding Plaintiff its costs pursuant to 17 U.S.C. § 505;
17

18         4.     Awarding Plaintiff interest, including prejudgment interest, on the
19
     foregoing amounts;
20

21
           5.     Permanently enjoining Defendant, its employees, agents, officers,

22   directors, attorneys, successors, affiliates, subsidiaries and assigns, and all those in
23
     active concert and participation with Defendant, from directly or indirectly
24

25   infringing Plaintiff’s copyrights or continuing to display, transfer, advertise,
26
     reproduce, or otherwise market any works derived or copied from the Work or to
27

28
     participate or assist in any such activity; and

           6.     For such other relief as the Court deems just and proper.
      COMPLAINT • Page 8
 1        RESPECTFULLY SUBMITTED this June 2, 2023.
 2
                                        RIVERSIDE LAW GROUP, PLLC,
 3

 4
                                        _____________________________
 5
                                        Max K. Archer, WSBA #54081
 6                                      905 W. Riverside Ave., Ste. 404
 7
                                        Spokane, WA 99201
                                        Telephone: (509) 504-8714
 8                                      Email: mka@riverside-law.com
 9                                      Attorney for Plaintiff
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




     COMPLAINT • Page 9
